              IN THE UNITED STATES DISTRICT COURT FOR THE

                       DISTRICT OF NEBRASKA

PHILLIP PETRONE, et al.,      )
                              )
               Plaintiffs,    )          8:11CV401
                              )
          v.                  )
                              )
WERNER ENTERPRISES, INC., and )
DRIVERS MANAGEMENT, LLC,      )
                              )
               Defendants.    )
______________________________)
PHILLIP PETRONE, et al.,      )
                              )
               Plaintiffs,    )          8:12CV307
                              )
          v.                  )
                              )
WERNER ENTERPRISES, INC., and )      MEMORANDUM AND ORDER
DRIVERS MANAGEMENT, LLC,      )
                              )
               Defendants.    )
______________________________)


          The matter is before the Court on the parties’ cross-

motions for summary judgment (Filing Nos. 316 and 321).1    This is

a class action for unpaid wages under the Fair Labor Standards

Act of 1938 and Nebraska wage and hour laws.   After reviewing the

briefs, evidentiary record, and applicable law, the Court finds

as follows.




     1
        All filing numbers reference the filing number in Case
No. 8:11CV401 (“Petrone I”), unless otherwise indicated.
Background and Procedural History

           Defendants Werner Enterprises, Inc. and Drivers

Management, LLC (collectively “Werner”) operate an approximately

eight-week Student Driver Program as part of the training and

orientation for new drivers.    Throughout the Student Driver

Program, a student drives with an experienced driver during which

the student assists in the driving, fueling, maintenance, and

communications with Werner.    Student drivers are required to

accurately log their duty status throughout each workday by using

the duty status regulated by the Department of Transportation

(“DOT”).   Students are paid a flat weekly rate; however, Werner

reviews the total number of on-duty hours logged and if

necessary, supplements the student’s pay to ensure minimum wage

is paid for every hour of on-duty time.

           Employees are directed to log their “duty status” in

the Qualcomm system according to a set of rules and definitions

in Werner’s employee manual.    During the student driver program,

driver trainers instruct the students on how to operate the

Qualcomm system and log their duty status.    The Werner manual

includes the following four definitions:

                1. Off Duty (Section 395.8) The
                period of time the Driver is
                Off-Duty and has no responsibility
                to the carrier, equipment, or
                cargo. Driver is relieved from all

                                 -2-
                responsibility for his vehicle
                during meal, coffee, and routine
                stops, providing that said vehicle
                is legally and safely parked and
                keys for the vehicle are in the
                driver’s possession. The break
                must be a minimum of 30 minutes in
                duration. . . .

                2. Sleeper Berth (Section 395.1)
                The time the Driver spends resting
                in the sleeper berth.

                3. Driving (Sections 395.2 and
                395.3) DRIVE and DRIVING TIME shall
                include all time spent at the
                driving controls of a motor vehicle
                in operation.

                4. On Duty - Not Driving (Sections
                395.2 and 395.3) On-duty time
                means all time from the time a
                Driver begins to work or is
                required to be in readiness to work
                until the time the Driver is
                relieved from work and all
                responsibility for performing work.
                . . .

(Filing No. 323 at Exhibit 1-B).   The messages are sent

electronically to a corresponding message system at Werner’s

headquarters.

          During the eight-week program, students may take leaves

of absence but are discouraged from doing so.   Werner’s leaves of

absence policy states,

                We discourage leaves of absence but
                understand that unforeseen
                circumstances can arise.
                Unnecessary breaks in training

                                -3-
                hinder the learning process and
                delay a student’s eligibility to
                test out. If your student wants to
                get off the truck, have them call
                their SDM. We do not want to force
                a student into ULOA (unauthorized
                leave of absence) situations if we
                can avoid it. LOAs are looked at
                on an individual basis.

(Filing No. 323 at Exhibit 1-L).   During the student driver

program, student drivers are on the road for approximately 8

weeks and under the supervision of driver trainers.    Student

drivers typically spend one day at home for every week the

student drivers are away from home training (See Filing No. 325

at ¶ 6).   Student drivers generally complete 250-300 hours of

driving instruction.

           Student drivers were trained to use the Qualcomm system

and log “Line 1 off-duty” when on break not in the sleeper berth

or truck cab.   Line 1 time includes time waiting, stretching,

using the bathroom, eating, and showering.   Werner’s Handbook has

a policy that breaks are logged on Line 1 and should be 30

minutes or more (Filing No. 323 at Exhibit 1-B).     In addition,

all student drivers were directed to log all time spent in the

sleeper berth as Line 2.   Werner’s computer system would total

the time drivers log on Lines 3 and 4 to determine payment of

minimum wage.   Werner did not consider time logged in “Line 1




                                -4-
off-duty” or “Line 2 sleeper berth” in determining whether a

student driver earned minimum wage.

          Plaintiff Philip Petrone filed this action on September

14, 2011, in the Eastern District of Pennsylvania, asserting

minimum wage violations of the Fair Labor Standards Act (“FLSA”)

and Pennsylvania state law.   On November 17, 2011, the Eastern

District of Pennsylvania granted the defendants’ motion to

transfer to the District of Nebraska.   On December 19, 2012, the

Court certified this matter as a collective action on behalf of

all drivers who participated in Werner’s over-the-road training

program in the three years preceding the filing date of

plaintiffs’ motion.

          Plaintiffs requested leave to file an amended FLSA

complaint and filed a new complaint, “Petrone II,” asserting

violations of the Nebraska Wage Payment and Collect Act and the

Nebraska Wage and Hour Act.   The Court consolidated the two cases

on October 11, 2012.   On July 10, 2013, the Court granted Rule

23(b)(3) class certification for “Petrone II.”   On May 15, 2015,

plaintiffs and defendants filed cross motions for summary

judgment (Filing Nos. 316 and 321).




                                -5-
Standard of Review

           Summary judgment is appropriate when, viewing the facts

and inferences in the light most favorable to the nonmoving

party, “there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.”     Fed. R.

Civ. P. 56(a); See Celotex Corp. v. Catrett, 477 U.S. 317, 321–23

(1986).   “The inquiry performed is the threshold inquiry of

determining whether there is the need for a trial -- whether, in

other words, there are any genuine factual issues that properly

can be resolved only by a finder of fact because they may

reasonably be resolved in favor of either party.”      Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).     The evidence must

be viewed in the light most favorable to the nonmoving party,

giving the nonmoving party the benefit of all reasonable

inferences.   Kenney v. Swift Transp., Inc., 347 F.3d 1041, 1044

(8th Cir.2003).    "In ruling on a motion for summary judgment, a

court must not weigh evidence or make credibility

determinations."     Id.   “Where the unresolved issues are primarily

legal rather than factual, summary judgment is particularly

appropriate.”     Koehn v. Indian Hills Cmty. Coll., 371 F.3d 394,

396 (8th Cir. 2004).

           Under the Fair Labor Standards Act, employers must

compensate employees with at least a specified minimum wage for

                                   -6-
every hour worked.    29 U.S.C. § 206(a).   Short rest periods of

less than 20 minutes “must be counted as hours worked.”     29

C.F.R. § 785.18.   Where an employee is required to report at a

place of work at a specific time, time spent waiting to begin is

compensable.   29 U.S.C. § 790.6.    “Under certain conditions an

employee is considered to be working even though some of his time

is spent in sleeping.”    29 C.F.R. § 785.20.   Where an employee is

on duty for 24 hours or more, the most that can be ascribed to

eating and sleeping (non-compensated time) is 8 hours.     29 C.F.R.

§ 785.22.

Discussion

            The plaintiffs move for summary judgment on three

issues:   (1) whether time spent in the sleeper berth beyond eight

hours per day is compensable, (2) whether short rest breaks are

compensable as a matter of law, and (3) whether the defendants’

violations of the law were willful, and therefore making

liquidated damages appropriate.     Defendant moves for summary

judgment on three issues:    (1) whether time spent in the sleeper

berth is not compensable working time under the law, (2) whether

plaintiffs have admissible evidence of damages, and (3) whether

Werner is entitled to summary judgment on the plaintiffs’ claims

for liquidated damages because Werner acted reasonably and with

honest belief that its conduct did not violate the law.     In

                                  -7-
addition, both parties disagree on whether the state law claims

should be calculated on a workweek basis or hour-by-hour basis.

I. Sleeper Berth Compensation

          Both parties have moved on the issue of whether time

spent in the sleeper berth is compensable.     The plaintiffs argue

that 29 C.F.R. § 785.22 governs the compensability of excess

sleeper berth time for individuals on extended tours of duty.

The defendants allege that § 785.22 is not applicable, but rather

29 C.F.R. § 785.41 is the controlling regulation.    The plaintiffs

claim that the two regulations, § 785.22 and § 785.41, can

reasonably be read together and reconciled.

          Federal regulation permits employers to utilize a sleep

time exclusion to the minimum wage and overtime pay requirements

under the FLSA where an employee is on duty for 24 hours or more.

See 29 C.F.R. § 785.22.   Under § 785.22(a),

               Where an employee is required to be
               on duty for 24 hours or more, the
               employer and the employee may agree
               to exclude bona fide meal periods
               and a bona fide regularly scheduled
               sleeping period of not more than 8
               hours from hours worked, provided
               adequate sleeping facilities are
               furnished by the employer and the
               employee can usually enjoy an
               uninterrupted night's sleep. If
               sleeping period is of more than 8
               hours, only 8 hours will be
               credited. Where no expressed or
               implied agreement to the contrary

                                -8-
                 is present, the 8 hours of sleeping
                 time and lunch periods constitute
                 hours worked.

An additional Department of Labor (“DOL”) regulation, 29 C.F.R.

§ 785.41, addresses work performed while traveling. Under

§ 785.41,

                 Any work which an employee is
                 required to perform while traveling
                 must, of course, be counted as
                 hours worked. An employee who
                 drives a truck, bus, automobile,
                 boat or airplane, or an employee
                 who is required to ride therein as
                 an assistant or helper, is working
                 while riding, except during bona
                 fide meal periods or when he is
                 permitted to sleep in adequate
                 facilities furnished by the
                 employer.

            “When a court construes an administrative regulation,

the normal tenets of statutory construction are generally

applied.”   Nebraska Pharmacists Ass’n, Inc. v. Nebraska Dep’t of

Soc. Servs., 863 F. Supp. 1037, 1046 (D. Neb. 1994)(internal

citations omitted).   Under the general rules of statutory

interpretation, “a reviewing court should not confine itself to

examining a particular statutory provision in isolation.”    FDA v.

Brown & Williamson Tobacco Corp., 529 U.S. 120, 132, 120 S.Ct.

1291, 146 L.Ed.2d 121 (2000).    “It is a ‘fundamental canon of

statutory construction that words of a statute must be read in

their context and with a view to their place in the overall

                                 -9-
statutory scheme.’”   Id. at 133, quoting Davis v. Michigan Dept.

of Treasury, 489 U.S. 803, 809, 109 S.Ct. 1500, 103 L.Ed.2d 891

(1989).

          The plaintiffs cite to DOL Field Operations Handbook

and Advisory Opinions to support their argument.   “An agency’s

interpretation of its own regulation is ‘controlling unless

plainly erroneous or inconsistent with the regulation.’”    Reutter

ex rel. Reutter v. Barnhart, 372 F.3d. 946, 951 (8th Cir. 2004)

(quoting Auer v. Robbins, 519 U.S. 452, 461, 177 S.Ct. 905, 137

L.Ed.2d 79 (1997)).   “This type of Auer deference is appropriate

for DOL interpretations of its own regulations, where the

regulations ‘g[i]ve specificity to a statutory scheme the

Secretary [of the DOL] [i]s charged with enforcing and reflect

the considerable experience and expertise the Department of Labor

ha[s] acquired over time with respect to the complexities of the

Fair Labor Standards Act.’”   Fast v. Applebee’s Intern., Inc.,

638 F.3d 872, 878 (8th Cir. 2011)(quoting Gonzales v. Oregon, 546

U.S. 243, 256-57, 126 S.Ct. 904, 163 L.Ed.2d 748(2006)).    In

addition, courts “afford deference to the agency’s reconciliation

of its own regulations.”   Armstrong v. Palmer, 879 F.2d 437, 439

(8th Cir. 1989).




                               -10-
            Section 31b09 of the DOL Field Operations Handbook

addresses hours worked by truck drivers.     Subsection (a)

entitled “time spent in sleeping berths in trucks” states,

                 Berths in trucks are regarded as
                 adequate sleeping facilities for
                 the purposes of IB 785.41 and
                 785.22. However, this rule applies
                 to sleeping berth time of truck
                 drivers or helpers only when they
                 are on continuous tours of duty
                 during trips away from home for a
                 period of 24 hours or more. If the
                 trip begins and ends at the home
                 station and is performed within one
                 working day (less than 24 hours),
                 all time on duty on the truck is
                 time worked (except, of course, for
                 bona fide meal periods) even though
                 some of that time is spent in the
                 sleeping berth.

Field Operations Handbook, Chapter 31, 31b09(a).     Subsection (b)

addresses tours of duty of 24 hours or more but less than 48

hours for truck drivers.    Section 31b09(b) states that “IB 785.22

describe[s] excludable sleep time for hours of duty of 24 hours

or more.”

            The DOL has also published advisory opinions that

address the compensability of sleeper berth time for over the

road truckers.    An advisory opinion from February of 1964 states,

                 As indicated in section 785.22 of
                 the bulletin on Hours Worked,
                 previously sent to you, bona fide
                 weal [sic] periods and bona fide
                 sleeping periods may be excluded

                                -11-
               from hours worked where truck
               drivers and helpers are on trips
               away from home for a period of 24
               hours or more. The bona fide
               sleeping period is limited to a
               maximum of 8 hours in computing
               hours worked.

U.S. Dep’t of Labor, Wage & Hour & Pub. Contracts Div. Advisory

Op. 25 BA 407.8(February 17, 1964).    Two years later, the

Administrator wrote another advisory opinion interpreting the

regulations with respect to truck drivers.    The 1966 opinion

states,

               As indicated in Section 785.22 of
               the enclosed bulletin on Hours
               Worked, bona fide sleeping periods
               may be excluded from hours worked
               where truck drivers and helpers are
               an [sic] trips away from facilities
               for a period of 24 hours or more
               provided adequate sleeping
               facilities are furnished by the
               employer. The bone [sic] fide
               sleeping period is limited to a
               maximum of 8 hours in computing
               hours worked.

U.S. Dep’t of Labor, Wage & Hour & Pub. Contracts Div. Advisory

Op. 25 BA 302.5 (November 18, 1966).

          The DOL Field Operations Handbook and advisory opinions

shed light on the applicability of Sections 785.22 and 785.41 in

the present case.   The two regulations, when read on their face,

are ambiguous as to whether one or both apply to truck sleeper

berths while on a tour of duty.   Because the Administrator’s

                               -12-
interpretations are not plainly erroneous or inconsistent with

the regulations as a whole, the Court must give deference to the

interpretations.   The defendants argue that § 785.41 is clear on

its face and applies to truck drivers and passengers, and

therefore should be the controlling regulation.    However, the DOL

handbook and advisory opinions make clear that § 785.22 is also

intended to apply to truck drivers on tours of duty over 24

hours.    Therefore, § 785.41 is not the only regulation specific

to truck drivers and their passengers.    When interpreting

regulations, the Court cannot look to one regulation in isolation

for the answer, but rather must consider the overall regulatory

scheme.

            In addition, the defendants argue that the plaintiffs

were not on “active duty” while in the sleeper berth and,

therefore, § 785.22 is inappropriate.    However, the language of

the regulation itself states “on duty” and not “active duty.”    In

this case, the student drivers were not allowed to leave the

truck whenever they wished.   The student drivers were required to

rest in the sleeper berth so that they can train and drive

Werner’s trucks and be in compliance with DOT regulations.    The

named plaintiff Philip Petrone stated in a deposition that,

                 I wasn’t completely relieved of
                 responsibility from my employer. I
                 was pretty much on assignment for

                                -13-
                24 hours. I was responsible for
                the cargo on the truck. I wasn’t
                free to go where I -- I didn’t have
                free roam to do what I had to do.
                I was limited being by the truck.
                . . . I was always at hand as
                needed for my responsibilities. As
                long as I was with that truck, that
                truck was my responsibility . . .
                So I don’t believe I was ever
                completely relieved of my
                responsibilities of the truck even
                though I was “off duty.”

(Filing No. 338 at Exhibit 1-J, 20, 23).   John Steele (“Steele”),

the Chief Financial Officer, Executive Vice President and

Treasurer of Werner Enterprises, stated in an affidavit that

student drivers “typically spent one day at home for every week

they are away from home while performing the over-the-road

freight transportation . . . .” (Filing No. 325 at ¶ 6).     In

addition, Steele stated that “student drivers spend approximately

eight weeks on the road away from home training under the

supervision of one or more diver trainers” (Id. at ¶ 7).     The

student drivers are not continuously “on duty” for 8 weeks when

they are at home or a motel resting.   However, the testimony and

facts of the case demonstrate that student drivers were on a

continuous 24-hour shift when on the road for days or weeks at a

time.   The nature of Werner’s student driver program is that the

student drivers often spend time in the sleeper berth while the

trainer driver is driving.   For the purposes of 29 C.F.R.

                               -14-
§ 785.22, Werner’s student drivers are on duty for 24 hours or

more when on the road training.

            The DOL’s Handbook and advisory opinions demonstrate

that both § 785.22 and § 785.41 apply to truck drivers when on a

tour of duty over 24 hours.    Applying § 785.41 in isolation does

not address the training aspect of the Werner’s student driver

program where students are away from home and driving for

multiple days or weeks.   Reading the two regulations together is

not inconsistent with the overall regulatory scheme.    Section

785.41 allows an employer to exclude a bona fide sleeping period

for drivers and passengers when adequate sleeping facilities are

provided.    However, Section 785.22 limits the bona fide sleeping

period exclusion to a maximum of 8 hours per 24 hour period.

Werner never took into account student driver logs under “Line 2

sleeper berth” when determining minimum wage compensation.    As a

result, plaintiffs’ motion for summary judgment on the issue of

sleeper berth compensation will be granted, and the defendants’

motion will be denied.

II. Short Rest Periods

            The plaintiffs ask the Court to grant their motion for

summary judgment on the issue of short rest breaks.    The

plaintiffs allege that Werner failed to compensate student

drivers for short rest breaks of 20 minutes or less which are

                                -15-
compensable as a matter of law.   Werner argues that its written

break time policy is lawful.

          Under 29 C.F.R. § 785.18,

               Rest periods of short duration,
               running from 5 minutes to about 20
               minutes, are common in industry.
               They promote the efficiency of the
               employee and are customarily paid
               for as working time. They must be
               counted as hours worked.

“It is the general rule under federal law that breaks of less

than thirty minutes are compensable.”   Rother v. Lupenko, Nos.

11-35922, 11-35953, 2013 WL 1491290 *1 (9th Cir. April 12, 2013).

          Werner has an off-duty break time policy in place that

states,

               Driver is relieved from all
               responsibility for his vehicle
               during meal, coffee, and routine
               stops, providing that said vehicle
               is legally and safely parked and
               the keys for the vehicle are in the
               driver’s possession. The break period
               must be a minimum of 30 minutes in
               duration.

(Filing No. 323 at Exhibit 1-B). Werner argues that its policy

complied with the law.   However, the plaintiffs argue that in

practice, Werner was not compensating student drivers for 20

minute or less breaks.   The rest breaks were reported to Werner

via the Qualcomm system.   A corporate designee for Werner, Jaime

Maus, admitted that breaks of 20 minutes or less are often logged

                               -16-
as Line 1, off-duty.   The plaintiffs’ attorney asked the

following line of questioning:

                Q. Okay. Hypothetically, if a
                driver is waiting for a load and he
                waits 15 minutes, so he gets to the
                terminal, stops the truck, gets out
                of the truck, stretches, does
                whatever he wants, but 15 minutes
                later, he's back on the road
                because the truck is now loaded,
                how should he have logged that 15
                minutes?

                A. If he's not required to be doing
                any work at that time, it would be
                a Line 1 --

                Q. Okay.

                A. -- off duty.

                Q. Even if he's required to wait
                for the next load if it's a short
                break?

                A. Even if he's required to wait,
                if he is not physically working at
                that time, he would log as Line 1,
                off duty.

(Filing No. 323, at Exhibit 1-E, p. 22).

          Werner argues that it did not have constructive

knowledge of the short rest breaks under 20 minutes.   When

determining constructive or actual knowledge, a court needs to

resolve whether the employer had knowledge of hours being worked

or had the opportunity through reasonable diligence to acquire

knowledge.   See Reich v. Stewart, 121 F.3d 400, 407 (8th Cir.

                                  -17-
1997)(citing Reich v. Dep’t of Conservation & Natural Res., 28

F.3d 1076, 1082 (11th Cir. 1994)).    In this case, every time a

student driver logged a 20 minute or less break under “Line 1 off

duty” that information was sent back to Werner’s headquarters.

Werner had knowledge or the opportunity through reasonable

diligence to determine that student drivers were not being

compensated for short rest periods logged under Line 1.

The plaintiffs’ expert has provided data for the amount of short

rest breaks not compensated by the defendants (Filing No. 338 at

Exhibit 1-B).   The defendants’ expert on damages stated in a

deposition that only small differences are present between his

calculation for short rest periods and the plaintiffs’ expert’s

calculations (Filing No. 338 at Exhibit 1-C, p. 64).

          Werner’s policy for short rest periods on its face

complied with the law.   However, in practice Werner did not

compensate student drivers for short rest periods under 20

minutes logged Line 1 on the Qualcomm system.    As a result, the

Court will grant the plaintiffs’ motion for summary judgment on

the issue of short rest breaks.

III. Plaintiffs’ Evidence of Damages

          When employees bring a suit for unpaid minimum wages,

the employees have “the burden of proving that [they] performed

work for which [they were] not properly compensated.”     Anderson

                               -18-
v. Mt. Clemens Pottery Co., 328 U.S. 680, 686-87, 66 S.Ct. 1187,

90 L.Ed. 1515 (1946), superseded by statute on other grounds,

Portal-to-Portal Act of 1947, Pub.L.No. 49-52, § 5, 61 Stat. 84,

87 (May 14, 1947)(codified at 29 U.S.C. §216(b)).     It is the

employer’s duty to keep accurate records, “[b]ut where the

employer’s records are inaccurate or inadequate and the employee

cannot offer convincing substitutes a more difficult problem

arises.”    Id. at 687.   In Mt. Clemens the Supreme Court held,

“that an employee has carried out his burden if he proves that he

has in fact performed work for which he is improperly compensated

and if he produces sufficient evidence to show the amount and

extent of that work as a matter of just and reasonable

inference.”    Id.   The burden then shifts to the employer to show

evidence “of the precise amount of work performed or with

evidence to negative the reasonableness of the inference to be

drawn from the employee’s evidence.”     Id. at 687-88.

            Werner alleges that the plaintiffs do not have

admissible evidence of damages, and therefore summary judgment in

their favor should be granted.     The defendants claim that the

plaintiffs’ damages expert Richard Kroon’s (“Kroon”) damage

calculations are unreliable and inconsistent with the plaintiffs’

claims.    The plaintiffs argue that they rely on the defendants’

pay and time records to prove damages.     The defendants’ records

                                 -19-
may not be completely accurate as to the exact time spent in the

sleeper berth or on short break periods.    However, the plaintiffs

can use Werner’s pay and time records as sufficient evidence to

show the amount and extent of that work as a matter of just and

reasonable inference.    The Court has addressed the admissibility

of Kroon’s calculations and testimony in a separate order (See

Filing No. 345).    As a result, the defendants’ motion for summary

judgment due to lack of admissible damage calculations will be

denied.

IV. Liquidated Damages

          Under 29 U.S.C. § 260,

                  if the employer shows to the
                  satisfaction of the court that the
                  act or omission giving rise to such
                  action was in good faith and that
                  he had reasonable grounds for
                  believing that his act or omission
                  was not a violation of the Fair
                  Labor Standards Act of 1938, as
                  amended, the court may, in its
                  sound discretion, award no
                  liquidated damages or award any
                  amount thereof not to exceed the
                  amount specified in section 216 of
                  this title.

Section 260 has both subjective and objective components;

thus, defendant must establish that it acted with good faith and

reasonableness.     Chao v. Barbeque Ventures, LLC, 547 F.3d 938,

941 (8th Cir. 2008).    “The ‘good faith’ requirement is a



                                 -20-
subjective standard where the employer must establish ‘an honest

intention to ascertain and follow the dictates of the FLSA.’”

Id. (quoting Hultgren v. County of Lancaster, Neb., 913 F.2d 498,

509 (8th Cir. 1990)).   “To carry his burden, a defendant employer

must show that he took affirmative steps to ascertain the Act’s

requirements, but nonetheless, violated its provisions.”     Id.

“Precise conformity” with the FLSA and its accompanying

regulations and DOL interpretations is not necessary; a

“reasonable belief of conformity” is all that is required.      Chao,

568 F. Supp. 2d at 1322.   Even where an employer’s decisions

about the FLSA are incorrect, liquidated damages are not proper

if the employer made a good faith attempt to comply with the

FLSA.   Cross v. Arkansas Forestry Comm’n, 938 F.2d 912, 918 (8th

Cir. 1999); Hultgren, 913 F.2d at 509-10.    In addition, under the

Nebraska Wage Payment & Collection Act, when an employee proves a

wage violation and the nonpayment was willful on the part of the

employer, the court may order the employer to pay an additional

damage award into a fund for the benefit of Nebraska schools.

See Law Offices of Ronald J. Palagi, P.C., L.L.O. v. Howard, 275

Neb. 334, 353, 747 N.W.2d 1, 15-16 (2008).   What constitutes good

faith on the part of an employer and whether the employer had

reasonable grounds for believing that its act or omission was not

a violation of the FLSA are mixed questions of fact and law."

                               -21-
Gallegos v. Equity Title Co. of Am., Inc., 484 F.Supp.2d 589, 599

(W.D.Tex. 2007) (citing Dybach v. Fla. Dep't of Corr., 942 F.2d

1562, 1566 (11th Cir. 1991)).

            The defendants argue that the Werner’s Student Driver

Program was developed in good faith and complied with 29 C.F.R.

§ 785.41.    As evidence of good faith, Werner states that it

diligently investigated its legal obligations, including hiring

outside counsel, to determine whether the program complied with

the law.    The defendants did not address the issue of liquidated

damages for the short rest period issue.    The plaintiffs argue

that defendants failed to research and be informed of the issue

of sleeper berth compensation.    The plaintiffs claim that Werner

never looked at the Field Operations Handbook or Advisory Opinion

in developing its Student Driver Program.

            The Court will grant the plaintiffs’ motion for

liquidated damages on the short rest period claims.    It is clear

from the facts that Werner understood the law on short rest

periods but failed to compensate student drivers for short breaks

logged under Line 1.    However, a question of material fact

remains as to whether the defendants acted in good faith as to

the development of the Student Driver Program regarding sleeper

berth compensation.    The Court will not preclude Werner from

asserting any good faith or willfulness defense.    The plaintiffs’

                                 -22-
and defendants’ motions for summary judgment on the issue of

liquidated damages for sleeper berth time will be denied.

V. Nebraska Wage and Hour Violation Calculations

           The plaintiffs allege that minimum wage violations

under the Nebraska Wage and Hour Act should be calculated on an

hour-by-hour basis.    The defendants argue that the Nebraska Wage

and Hour Act should have the same coverage as the FLSA, and

therefore be calculated on a weekly basis.    The defendants ask

the Court to apply the “Klinghoffer rule” to the state law

claims.   The Klinghoffer rule states that under the FLSA, no

violation occurs “so long as the total weekly wage paid by an

employer meets the minimum weekly requirements of the statute,

such minimum weekly requirement being equal to the number of

hours actually worked that week multiplied by the minimum hourly

statutory requirement.”   See United States v. Klinghoffer Bros.

Realty Corp., 285 F.2d 487, 490 (2nd Cir. 1960).

           The United States Court of Appeals for the Eighth

Circuit has applied the Klinghoffer rule to the FLSA’s minimum

wage provision.   See Hensley v. Macmillan Bloedel Containers,

Inc., 786 F.2d 353, 357 (8th Cir. 1986).    However, no court in

Nebraska has applied the federal Klinghoffer rule to the state

Wage and Hour Act.    Therefore, calculations under the Nebraska




                                -23-
Wage and Hour act will be based on an hour-by-hour basis, whereas

the Klinghoffer rule shall be applied to the FLSA violations.

          IT IS ORDERED:

          1)   Plaintiffs’ motion for summary judgment as to

sleeper berth compensation is granted.   The defendants’ motion as

to sleeper berth compensation is denied.

          2)   Plaintiffs’ motion for summary judgment as to short

rest breaks is granted.

          3)   Defendants’ motion for summary judgment as to

plaintiffs’ lack of admissible damage calculations is denied.

          4)   Plaintiffs’ motion for liquidated damages as to the

short rest breaks is granted.   However, both parties’ motions for

summary judgment on the issue of liquidated damages for sleeper

berth time are denied.

          5)   Defendants’ motion to apply to Klingoffer rule to

the Nebraska state law calculations is denied.

          6)   Trial regarding damages in this case will commence

on:

                Wednesday, September 9, 2015, at 9 a.m.




                                -24-
Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 3rd day of August, 2015.

                              BY THE COURT:

                              /s/ Lyle E. Strom
                              ____________________________
                              LYLE E. STROM, Senior Judge
                              United States District Court




                              -25-
